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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NORTHSTAR HOLDINGS, iNC.,
NORTHSTAR HOMES, INC., AND

NORTHSTAR HOLDINGS AT B &A, LLC,
Case No: 2:10-cv-00384

Plaintiffs, Judge: Fallon

Vv. Magistrate: Wilkinson

GENERAL FIDELITY INSURANCE
COMPANY, QUANTA INDEMNITY
COMPANY, MiD-CONTINENT CASUALTY
COMPANY, AXIS SURPLUS INSURANCE,
AND ESSEX INSURANCE COMPANY,

Defendants.
/

NOTICE OF HEARING
PLEASE TAKE NOTICE that Defendant General Fidelity Insurance Company will
bring its Motion to Dismiss for improper Venue and Lack of Personal Jurisdiction, or in the
Alternative, Motion to Transfer Venue before The Honorable Judge Eldon E. Fallon, United
States District Court, Eastern District of Louisiana, 500 Poydras Street, Room C151, New

Orleans, Louisiana, Section J, on May 26, 2010 at 9:00 a.m.

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Respectfully submitted,

isi R. Steven Rawls

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CERTIFICATE OF SERVICE

| hereby certify that the above and foregoing Notice of Hearing has been served on
Plaintiffs’ Liaison Counsel, Russ Herman, and Defendants’ Liaison Counsel, Kerry Miller,
by U.S. Mail and e-mail and upon all parties by electronically uploading the same to Lexis
Nexis File & Serve in accordance with Pretrial Order No. 6, and that the foregoing was
electronically filed with the Clerk of Court of the United States District Court for the Eastern
District of Louisiana by using the CM/ECF System, which will send a notice of electronic
filing in accordance with the procedures established in MDL 2047, on this 13" day of April,

2010.
Respectfully submitted,

is/ R. Steven Rawls
R. STEVEN RAWLS, ESQ.

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